               Case 2:13-cr-02092-LRS                      ECF No. 1776              filed 04/29/15         PageID.6927 Page 1 of 5
 2$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH
                6KHHW5HYLVHGE\:$('

                                                                                                                                            FILED IN THE

                                              81,7('67$7(6',675,&7&2857                                                              U.S. DISTRICT COURT
                                                                                                                                  EASTERN DISTRICT OF WASHINGTON


                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ                                                 Apr 29, 2015
           81,7('67$7(62)$0(5,&$                                            JUDGMENT IN A CRIMINAL CASE                             SEAN F. MCAVOY, CLERK

                      V.
                                                                              &DVH1XPEHU           2:13CR02092-LRS-16
                KURTIS JAMES CROWDER
                                                                              8601XPEHU            16848-085

                                                                                     Carl Joseph Oreskovich
                                                                              'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     1 of the Information Superseding Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                    Nature of Offense                                                                          Offense Ended       Count
18 U.S.C. § 1167(a)               Theft from Gaming Establishment of Less Than $1,000                                             03/27/13            1




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                        5        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G                all remaining                              G LV       ✔DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                        G
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                               4/28/2015
                                                              'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                              6LJQDWXUHRI-XGJH




                                                             The Honorable Lonny R. Suko                          Senior Judge, U.S. District Court
                                                              
                                                              1DPHDQG7LWOHRI-XGJH


                                                                  4/29/2015
                                                              'DWH
                                                              
              Case 2:13-cr-02092-LRS                      ECF No. 1776      filed 04/29/15        PageID.6928 Page 2 of 5
$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH
             6KHHW²3UREDWLRQ

                                                                                                           -XGJPHQW²3DJH    2      RI         5
'()(1'$17 KURTIS JAMES CROWDER
&$6(180%(5 2:13CR02092-LRS-16
                                                                 PROBATION
7KHGHIHQGDQWLVKHUHE\VHQWHQFHGWRSUREDWLRQIRUDWHUPRI            3 years




7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRISODFHPHQWRQSUREDWLRQDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
      IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
G 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
G 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq
      DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
      ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)
G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
       ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRISUREDWLRQWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH6FKHGXOHRI
3D\PHQWVVKHHWRIWKLVMXGJPHQW
         7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDOFRQGLWLRQV
RQWKHDWWDFKHGSDJH

                                          STANDARD CONDITIONS OF SUPERVISION
         WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
         WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQXQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
          DFFHSWDEOHUHDVRQV
         WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
         WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\FRQWUROOHG
          VXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
         WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
         WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
          IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
        WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQ LQIRUPHURUDVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRX WWKH
          SHUPLVVLRQRIWKHFRXUWDQG
        DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
          UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWKHSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
          GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
           Case 2:13-cr-02092-LRS                     ECF No. 1776     filed 04/29/15        PageID.6929 Page 3 of 5
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW&²3UREDWLRQ
                                                                                                     -XGJPHQW²3DJH     3     RI        5
'()(1'$17 KURTIS JAMES CROWDER
&$6(180%(5 2:13CR02092-LRS-16

                                         SPECIAL CONDITIONS OF SUPERVISION
 14) You shall provide the supervising officer with access to any requested financial information, including authorization to conduct
 credit checks and obtain copies of your Federal income tax returns. You shall disclose all assets and liabilities to the supervising
 officer. You shall not transfer, sell, give away, or otherwise convey any asset, without the advance approval of the supervising officer.

 15) You shall not incur any new debt, open additional lines of credit, or enter into any financial contracts, without the advance approval
 of the supervising officer.
            Case 2:13-cr-02092-LRS                     ECF No. 1776      filed 04/29/15        PageID.6930 Page 4 of 5
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                   -XGJPHQW²3DJH      4      RI         5
'()(1'$17 KURTIS JAMES CROWDER
&$6(180%(5 2:13CR02092-LRS-16
                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                    Fine                                  Restitution
TOTALS                $25.00                                                                              $2,500.00


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO            $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

✔ 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
G
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                        Total Loss*           Restitution Ordered       Priority or Percentage

  Yakama Nation Legends Casino                                                 $2,500.00                 $2,500.00




TOTALS                                                  2,500.00                            2,500.00


✔
G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW 2,500.00

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

✔
G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      ✔ WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G
      G                                                   ✔ UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
             Case 2:13-cr-02092-LRS                      ECF No. 1776         filed 04/29/15     PageID.6931 Page 5 of 5
$2%      5HY -XGJPHQWLQD&ULPLQDO&DVH
            6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH     5      RI       5
'()(1'$17 KURTIS JAMES CROWDER
&$6(180%(5 2:13CR02092-LRS-16

                                                         SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A    G     /XPSVXPSD\PHQWRI                             GXHLPPHGLDWHO\EDODQFHGXH

           G      QRWODWHUWKDQ                                   RU
           G      LQDFFRUGDQFH           G &          G '   G     (RU    G )EHORZRU
B    ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
     G                                                                       G &     G 'RU    ✔)EHORZ RU
                                                                                                 G
C    G     3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G     3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E    G     3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G
     While on probation, monetary penalties are payable on a monthly basis of 10% of the defendant's net household income,
     beginning immediately.




8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
)LQDQFH32%R[6SRNDQH:$

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

✔ -RLQWDQG6HYHUDO
G
     &DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU DQG'HIHQGDQWDQG&R'HIHQGDQW1DPHV7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH
          CR-13-2092-LRS-1; Juan Reyes Correa                   $2,500.00           $2,500.00    Yakama Nation Legends Casino




G    7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G    7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

G    7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
